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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

 KAREN S. ROWLAND,

               Plaintiff,

 v.                                               Civil Action No. 3:23-cv-258
                                                  Hon. M. Hannah Lauck
 TRANSWORLD SYSTEMS, INC.;

 MRS BPO, L.L.C.;

 CONVERGENT OUTSOURCING, INC.;

 NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2006-4;

 NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2007-4; and

 U.S. BANK NATIONAL ASSOCIATION,

               Defendants.


 TRANSWORLD SYSTEMS INC., CONVERGENT OUTSOURCING INC., AND MRS
BPO, L.L.C.’S MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendants, Transworld Systems Inc., Convergent Outsourcing, Inc., and MRS BPO, LLC,

submit this Motion to Dismiss the Amended Class Action Complaint (Doc. 10) filed by plaintiff,

Karen Rowland. TSI, COI, and MRS respectfully request the Court dismiss Plaintiff’s Amended

Class Action Complaint pursuant to Fed. R. Civ. P. 12(b)(6). A Memorandum in Support of this

Motion, detailing the law and facts that entitle movants to the requested relief is submitted

herewith.

Dated: September 8, 2023                      Respectfully submitted,

                                              /s/ William D. Bayliss


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                                                  William D. Bayliss, Esq.
                                                  Virginia Bar No. 13741
                                                  Joseph E. Blackburn, Esq.
                                                  Virginia Bar No. 81871
                                                  WILLIAMS MULLEN
                                                  200 South 10th Street, Suite 1600
                                                  P.O. Box 1320 (23218)
                                                  Richmond, VA 23219
                                                  Telephone: (804) 420-6459
                                                  Facsimile: (804) 420-6507
                                                  bbayliss@williamsmullen.com
                                                  jblackburn@williamsmullen.com

                                                  Bryan C. Shartle, Pro Hac Vice Pending
                                                  Justin H. Homes, Pro Hac Vice Pending
                                                  Bradley J. St. Angelo, Pro Hac Vice Pending
                                                  SESSIONS, ISRAEL & SHARTLE, LLC
                                                  3838 North Causeway Blvd, Suite 2800
                                                  Metairie, LA 70002-7227
                                                  Telephone: (504) 828-3700
                                                  Facsimile: (504) 828-3737
                                                  bshartle@sessions.legal
                                                  jhomes@sessions.legal
                                                  bstangelo@sessions.legal

                                                  Counsel for Transworld Systems Inc., Convergent
                                                  Outsourcing, Inc., and MRS BPO, L.L.C.


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of September, 2023, a copy of the foregoing

was filed electronically via the Court’s CM/ECF system. Notice of this filing will be sent to all

parties of record by operation of the Court’s electronic filing system.

                                                  /s/ William D. Bayliss
                                                  William D. Bayliss, Esq.




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